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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DISIVION

MATTHEW THORNTON                                                          PETITIONER
ADC# 141948

v.                        Case No. 4:21-cv-00662-BRW-JTK

DEXTER PAYNE, Director,
Arkansas Division of Correction                                         RESPONDENT

                                     JUDGMENT

       Pursuant to the Order entered today, the Court summarily dismisses the petition and

denies the requested relief.

       IT IS SO ORDERED, this 14th day of October, 2021.




                                                  Billy Roy Wilson
                                                  UNITED STATES DISTRICT JUDGE
